Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 1 of 16 PageID 3020




                       UNITED STATES DISTRJCT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 SLADJANA . PERISIC, on behalf of
 herself and others similarly situated,

       . Plaintiff,

 v.                                                 Case No.: 8:16-cv-3255-EAK-SPF
 ASHLEY FURNITURE INDUSTRIES,
 INC., a Wisconsin corporation,

         Defendant.

                                         ORDER

         THIS CAUSE is before the Court on the parties' respective responses to the

 Court's show cause order. (Docs. 108, 109). The Court must decide whether it

 properly exercises subject matter jurisdiction over Plaintiffs state statutory and

 common law claims. Upon review, and as set forth more fully below, the Court

 finds that it does not. This action is accordingly due to be dismissed without

 prejudice.

 1.·     Background

         On November 23, 2016, Plaintiff, Sladjana Perisic, filed a putative class action

 complaint against Defendant, Ashley Furniture Industries, Inc. ("AFI"), on behalf

 of herself and all other persons who purchased furniture with DuraBlend®

 upholstery from AFI in Florida. (Doc. 1). Plaintiffs complaint alleged that AFI

 knew that its DuraBlend® furniture, in fact, did not consist of leather and was not of
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 2 of 16 PageID 3021

                                                   Case No.: 8:16-cv-3255-EAK-SPF

 similar quality, but nevertheless promoted, marketed, advertised, and sold its

 DuraBlend® furniture to Plaintiff and the other putative class members as a high-

 quality, durable leather product. Id. at ,-f~12, 7-11, 14-19. Plaintiff asserted claims

 under Florida's Deceptive and Unfair Trade Practices Act (Count I) and common

 law and equitable claims for fraudulent misrepresentation (Count· II) and unjust

 enrichment (Count III). Id. at ,-f,-f29-51. Plaintiff alleged federal subject matter

 jurisdiction pursuant to the Class Action Fairness Act ("CAFA"), Pub. L. No. 109-

 2, 119 Stat. 4 (codified in 28 U.S.C. §§1332(d), 1453, 1711-1715). Id. at ,-f3.

       Plaintiff filed her motion for class certification on January 23, 2018, which

 the Court referred to the Magistrate Judge for a Report and Recommendation

 ("R&R").    (Doc. 35).    Through his well-reasoned R&R, the Magistrate Judge

 recommended that Plaintiffs motion for class certification be denied because the

 class she proposed was not adequately defined and clearly ascertainable, and because

 she failed to satisfy the requirements of Federal Rule of Civil Procedure 23(a) and

 23(b)(3).   (Doc. 99).   Through separate Order, the Court overruled Plaintiffs

 objections, adopted the Magistrate Judge's R&R, and denied Plaintiffs motion for

 class certification. (Doc. 105).

       Because CAF A is the only basis for federal subject matter jurisdiction alleged

 in Plaintiffs complaint, the Court was concerned that it no longer had subject matter

 jurisdiction over Plaintiffs remaining individual claims. Specifically, upon review



                                            2
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 3 of 16 PageID 3022

                                                   Case No.: 8:16-cv-3255'-EAK-SPF

 of the Eleventh Circuit's opinion in Walewski v. Zenimax Media, Inc., 502 F. App'x

 857 (11th Cir. 2012) (unpublished), the Court believed that, having denied class

 certification, CAF A jurisdiction was no longer applicable. And because the only

 allegation as to Plaintiffs individual damages was that she paid $1,700 for her

 DuraBlend® furniture set, see (Doc. 1, at 114), the Court saw no other bases to

 exercise federal subject matter jurisdiction over Plaintiffs claims. Accordingly, on

 August 15, 2018, the Court ordered the parties to show cause why this action should

 not be dismissed for lack of subject matter jurisdiction in light of the Court's denial

 of Plaintiffs motion for class certification. (Doc. 107).

       Plaintiff responded to the Court's show cause Order on August 30, 2018.

 (Doc. 109). Through her response, Plaintiff contends that federal subject matter

 jurisdiction under CAF A survives denial of class certification, and that the Court

 accordingly retains original jurisdiction over Plaintiffs remaining, individual

 claims. Id. For its part, AFI takes no position on the issue. (Doc. 108).

 II.   Discussion

       The question this action presents is clear enough: . in a putative class action

 lawsuit filed directly in federal court, invoking federal subject matter jurisdiction

 pursuant to CAF A, and alleging solely state and common law causes of action, does

 the district court retain jurisdiction over a plaintiffs remaining, individual claims

 even after denial of class certification? Upon consideration, however, the answer to



                                            3
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 4 of 16 PageID 3023

                                                   Case No.: 8:16-cv-3255-EAK-SPF

 that question is less clear due to the Eleventh Circuit's inconsistent treatment of

 district courts' continuing CAF A jurisdiction in failed class action cases.

       The earliest circuit court ·decision to address the issue of a district court's

 continuing subject matter jurisdiction under CAPA after denial of class certification

 was the Eleventh Circuit's decision in Vega v. T-Mobile USA, Inc., 564 F.3d 1256

 (11th Cir. 2009). In Vega, the plaintiff, a former employee ofT-Mobile USA, Inc.

 ("T-Mobile"), filed a putative class action lawsuit in Florida state court against T-

 Mobile, alleging that T-Mobile unlawfully withheld sales commissions from its

 employees. Id. at 1256~1262. T-Mobilesubsequently removedthe action to federal

 court pursuant to CAF A. Id. at 1263. The plaintiff then filed his motion for class

 certification, which the district court granted. Id. at 1264. T-Mobile appealed. Id.

       On review, the panel determined that the district court's class-certification

 analysis contained "numerous flaws," and that the proposed class was "not amenable

 to Rule 23 certification." Id. at 1260. The panel concluded that the district court

 abused its discretion in finding the numerosity requirement of Federal Rule of Civil

 Procedure 23 satisfied because the record contained no Florida-only evidence of

 sufficient numerosity. Id. at 1267-68. In a footnote to its discussion of numerosity,

 the panel noted that failure to show numerosity "does not divest the federal courts

 of subject matter jurisdiction under [] CAFA," even though it gives rise to the

 possibility that there are fewer than one hundred members of the class, because



                                            4
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 5 of 16 PageID 3024

                                                   Case No.: 8:16-cv-3255-EAK-SPF

 "jurisdictional facts are assessed at the time of removal; and post-removal events

 (including non-certification, de-certification, or severance) do not deprive federal

 courts of subject matter jurisdiction." Id. (emphasis added).

       As it was unnecessary to the panel's ultimate decision, however, the panel's

 footnoted discussion of the jurisdictional impact of a plaintiffs failure to satisfy the

 numerosity requirement is dicta. Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744,

 762 (11th Cir. 2010) ("Statements in an opinion that are not fitted to the facts, that

 extend further than the facts of that case, or that are not necessary to the decision of

 an appeal given the facts and circumstances of the case are dicta."). Consequently,

 the Vega panel's discussion of CAF A subject matter jurisdiction after denial of class

 certification was "not binding on anyone for any purpose." Edwards v. Prime, Inc.,

 602 F.3d 1276, 1298 (11th Cir. 2010). Nonetheless, other circuits seized on the Vega

 panel's dicta in support of the position that post-removal events do not oust district

 courts of CAFA jurisdiction. See, e.g., Louisiana v. Am. Nat. Prop. Cas. Co., 746

 F.3d 633, 639 (5th Cir. 2014) (citing Vega and holding that voluntary dismissal of

 class allegations and subsequent severance of individual plaintiffs case post-

 removal did not divest district court of CAFA jurisdiction); Metz v. Unizan Bank,

 649 F .3d 492, 500 (6th Cir. 2011) (citing. Vega and holding that denial of class

 certification post-removal did not divest district court of CAFA jurisdiction)




                                            5
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 6 of 16 PageID 3025

                                                   Case No.: 8:16-cv-3255-EAK-SPF

 (citations omitted); Cunningham Charter.Corp. v. Learjet, Inc.. , 592 F.3d 805, 806-

 07 (7th Cir. 2010) (same).

       Notwithstanding the subsequent endorsement by other circuits of its dicta in

 Vega, however, the Eleventh. Circuit has not treated consistently cases in which

 federal subject matter jurisdiction is predicated .on CAFA, but where the plaintiffs

 class claims later fail. Compare Wright Transportation, Inc. v. Pilot Corp., 841 F.3d

 1266 (11th Cir. 2016) with Walewski, 502 F. App'x 857.

       For example, in Walewski, the Eleventh Circuit appeared to definitively

 (although not explicitly) reject its earlier dicta in Vega. 502 F. App'x at 862. In

 Walewski, the plaintiff filed a .putative class-action lawsuit against two videogame

 manufacturers in the Orlando · Division of this District, alleging that the

 manufacturers' videogame violated state consumer protection laws. Id. at 859. The

 plaintiff alleged subject matter jurisdiction pursuant to CAF A. Id. The plaintiff

 subsequently filed a motion for class certification, proposing to certify a class of all

 persons in the United States whQ had purchased the videogame. Id. The Magistrate

 Judge recommended denial of the plaintiffs motion, finding, inter alia, that his

 proposed class was not adequately defined or clearly ascertainable. Id. Over the

 plaintiffs objections, U.S. District Judge John Antoon II adopted the Magistrate

 Judge's recommendations and dismissed the plaintiffs complaint without leave to




                                            6
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 7 of 16 PageID 3026

                                                   Case No.: 8:16-cv-3255-EAK-SPF

 amend due to the plaintiff's resulting lack of standing. Id. at 859-60. The plaintiff

 appealed. Id.

       On review, the panel held that the district court did not abuse its discretion in

 denying class certification and affirmed the district court's dismissal of the lawsuit.

 Id. at 861....:862. With respect to dismissal, however, the panel affirmed the district

 court's decision not on standing grounds but "on the grounds that absent certification

 as a class action, the district court lack[ed] subject matter jurisdiction over [the

 plaintiff's] individual claim."   Id. at 862. (emphasis added) (citation omitted).

 Finding CAFA inapplicable, the panel reasoned:

       In a diversity case such as this one, the district court only has
       jurisdiction if the amount in controversy exceeds $75,000. [The
       plaintiff] alleges that the only damages he suffered are the difference in
       value between the video game as represented and as is. That difference
       clearly does not exceed $75,000, and for that reason the district court
       lacks subject matter jurisdiction.

 Id. (citations omitted). Thus, after Walewski, it appeared that a district court's

 subject matter jurisdiction was extinguished upon definitive denial of class

 certification, assuming no other bases for subject matter jurisdiction (aside from

 CAFA) existed. And indeed, at least two district courts in this circuit have dismissed

 putative CAFA class actions in reliance on the Walewski panel's rationale. See, e.g.,

 Carroll v. Lowes Home Centers, Inc., No. 1:12-cv-23996-ASG, (Docs. 51, 56), (S.D.




                                            7
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 8 of 16 PageID 3027

                                                             Case No.: 8:16-cv-3255-EAK-SPF

 Fla. June 4, 2014); Karhu v. Vital Phann., Inc., No. 0:13-cv-60768-JIC, 2014 WL

 1274119, at *3 (S.D. Fla. Mar. 27, 2014), affd, 621 F. App'x 945 (11th Cir. 2015). 1

         Four years after its decision in Walewski, however, and without any reference

 to that opinion, the Eleventh Circuit reversed course in Wright Transportation, Inc.

 v. Pilot Corp .. 841 F.3d 1266 (11th Cir. 2016). In Wright, the plaintiff, Wright

 Transportation Inc. ("Wright"), an Alabama trucking company, brought a putative

 class action lawsuit against Pilot Corp., the largest chain of truck stops in the United

 States, and five other defendants (collectively, "Pilot") in the U.S. District Court for

 the Southern District of Alabama. Id. at 1267. Wright alleged that Pilot had violated.

 the parties' fuel-discount agreement, as well as similar agreements with several other

 trucking companies. Id. Wright asserted multiple claims against Pilot under both

 state and federal law: (1) violations of 18 U.S.C. § 1962(c) for racketeering; (2)

 violation of 18 p.S.C. § 1962(d) for conspiracy to commit racketeering; (3) breach

 of contract under state law; (4) deceptive trade practices in violation of state law; ( 5)

 unjust enrichment under state law (brought on behalf of only a subset of class

 members in states with such laws); (6) fraudulent misrepresentation under state law;



 1 The Court notes that, like this Court did in the instant case, at least one other district court in this
 circuit relied on Walewski in issuing a show cause order that required the parties to show cause
 why the action should not be dismissed for lack of subject matter jurisdiction after the court denied
 class certification. See, e.g., Gelfound v. Metlife Ins. Co. of Connecticut, 313 F.R.D. 674, 680
 (S.D. Fla. 2016). However, the action was later dismissed by stipulation of the parties without
 need for the district court to issue an order on the merits.



                                                     8
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 9 of 16 PageID 3028

                                                   Case No.: 8:16-cv-3255-EAK-SPF

 (7) negligent misrepresentation under state law; and (8) suppression of the proper

 discounts owed to the class members under state law. Id. at 1268. Wright alleged

 several bases for federal subject matter jurisdiction over all its claims: (1) federal-

 question jurisdiction under 28 U.S.C. § 1331 for the federal racketeering claims; (2)

 diversity jurisdiction under 28 U.S.C. § 1332(a); (3) jurisdiction under CAFA; and

 (4) supplemental jurisdiction under 28 U.S.C. § 1367. Id.

        The district court dismissed both of Wright's federal racketeering claims, its

 state-law claims for fraudulent misrepresentation, negligent misrepresentation, and

 suppression of discounts, and its deceptive practices claim. Id. The district court

 also dismissed all the class claims asserted in the complaint due to a court-approved

 settlement reached in a rival class-action suit in the United States District Court for

 the Eastern District of Arkansas, which Wright conceded deprived it of standing to

 pursue its class claims. Id. at 1268-69. Thus, the only claims that survived were

 Wright's individual, state common law breach of contract and unjust enrichment

 .claims. Id. at 1269.

        Subsequently, Wright's lawsuit was consolidated with six other lawsuits

 brought against Pilot by parties who had opted out of the nationwide class settlement

 approved by the Eastern District of Arkansas. Id. These seven cases then continued

 as one multi-district litigation proceeding in the United States District Court for the

 Eastern District of Kentucky (the "MDL court"). Id. However, the MDL court later



                                            9
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 10 of 16 PageID 3029

                                                     -Case No.: 8:16-cv-3255-EAK-SPF

  discovered that a "sub-sub-sub-sub-member" of one of Pilot's limited liability

  companies was, like Wright, a citizen of Alabama at the time Wright filed its suit,

  depriving the MDL court of diversity jurisdiction over the case. Id. Pilot urged the

  MDL court to retain jurisdiction over Wright's lawsuit under CAFA. Id. Over

  Pilot's urging, however, the MDL court remanded the case to the Southern District

  of Alabama. Id.

           On remand to the Southern District of Alabama, Wright moved to dismiss its

  remaining state law claims without prejudice so that it could refile in Alabama state

  court.     Id.   In opposition, Pilot countered that the district court had original

 jurisdiction under CAF A and, alternatively, that it should continue to retain

  supplemental jurisdiction. Id. Citing to Vega, the district court dismissed Pilot's

  argument in a footnote:

             The defendants insist that post-filing events do not divest a court of
           · CAFA jurisdiction. This may be so, but· it is irrelevant; the dismissal
             of the CAFA (and [racketeering]) claims means the Court has dismissed
             all claims over which .it has original jurisdiction, which means its
             statutorily granted discretion to decline to exercise supplemental
            jurisdiction has been triggered.

  Id. at 1269 -70 (quoting Wright Transp., Inc. v. Pilot Corp., No. 2:14-cv-68-ART,

  2015 WL 6511306, at *2 n.2 (S.D. Ala. Oct. 27, 2015)) (internal quotations and

  citations omitted). The district court "found no compelling argument for exercising

  supplemental jurisdiction over Wright's state-law claims and dismissed them




                                              10
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 11 of 16 PageID 3030

                                                     Case No.: 8:16-cv-3255-EAK-SPF

 without prejudice so Wright could refile them in state court." Id. (internal quotations

 and alterations omitted). Pilot appealed. Id.

        On appeal, Pilot argued that, because CAF A conferred original jurisdiction

  over all of Wright's claims at the time Wright filed them, the district court's subject

  matter jurisdiction under CAF A survived dismissal of Wright's class claims. Id. To

 that end, Pilot asked the Eleventh Circuit "to rule that once this original jurisdiction

  is conferred under CAF A, it sticks for the entire life of the case, such that it could

  not be destroyed by later events like the class settlement in the Eastern District of

  Arkansas." Id. For its part, the Wright panel framed the issue as "whether federal

  courts that are given original subject-matter jurisdiction over state-law claims by

  [CAFA] retain that jurisdiction even when the class claims are dismissed before the

  class is certified." Id. at 1267.

        Relying on its dicta in Vega, in addition to opinions issued by the. Second,

  Fifth, Sixth, Seventh, Eighth, and Ninth circuits, the panel held that the district court

  erred in dismissing the lawsuit and concluded that "CAFA continue[d] to confer

  .original federal jurisdiction over [Wright's] remaining state~law claims ... even

  after later events meant there would be no class.'' Id. at 1271-72, 1273 (citing In

  Touch Concepts, Inc. v. Cellco P'ship. 788 F.3d 98, 102 (2d Cir. 2015); Louisiana,

  746 F.3d at 639 (collecting cases from the Sixth, Seventh, Eighth, and Ninth

  Circuits); Ctmningham, 592 F.3d at 805) (emphasis added). Notably, the panel made



                                             11
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 12 of 16 PageID 3031

                                                   Case No.: 8:16-cv-3255-EAK-SPF

 it a point to explain that its decision made no distinction between cases that were

 removed from state court pursuant to CAF A and cases that were filed directly in

  federal court pursuant to CAF A; in both instances, CAF A continues to confer

 original federal jurisdiction over an individual plaintiffs remaining state-law claims

 notwithstanding denial of class certification. Wright, 841 F.3d at 1272. The panel

  went on to explain, however, that there are two scenarios where claims filed in, or

  removed to, federal court under CAF A can be dismissed for lack of jurisdiction: ( 1)

  where the plaintiffs claims contain frivolous attempts to invoke CAF A jurisdiction;

  or (2) where the plaintiffs claims lack the expectation that a class may be eventually

  certified. Id. at 1271 (citations omitted). In these situations, the panel reasoned,

  dismissal is appropriate because subject matter jurisdiction can be said to have never

  existed in the first place. Id. at 1271.

        As noted above, the Wright panel, although decidedly reversing course, did

  not explicitly overrule Walewski; it simply made no mention of the opinion.

  Nonetheless, the Court finds that it is bound to follow Wright. Walewski, although

  exceedingly analogous to the instant case, and thus highly persuasive, is an

  unpublished decision and, consequently, it is not binding on the Court. See Bonilla

  v. Baker Concrete Constr., 487 F.3d 1340, 1345 n.7 (11th Cir. 2007). Wright, on

  the other hand, is a published panel decision issued after Walewski, and, therefore,

  it is binding on the Court. See Smith v. GTE Corp., 236 F.3d 1292, 1300 n.8 (11th



                                             12
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 13 of 16 PageID 3032

                                                    Case No.: 8:16-cv-3255-EAK-SPF

  Cir. 2001); Cargill v. Turpin, 120 F.3d 1366, 1386 (11th Cir. 1997). And under

  Wright, the answer to the question initially presented by the Court, supra, is: in a

  putative CAF A class action lawsuit filed directly in federal court and alleging solely

  state and common law causes of action, the district court retains jurisdiction over a

  plaintiffs remaining, individual claims after denial of class certification, unless the

  plaintiffs claims contain frivolous attempts to invoke CAFA jurisdiction or lack the

 _expectation that a class may be eventually certified. 841 F.3d 1271-73.

        Applying that general rule here, the Court finds that this action is due to be

  dismissed. Specifically, although the Court did not "lose" CAF A jurisdiction after

  denying Plaintiffs motion for class certification, the Court finds that it never had

  original CAFA jurisdiction over this action to begin with because Plaintiffs claims

  contain frivolous attempts to invoke CAFA jurisdiction and lack the expectation that

  a class would be eventually certified. Id.; Arias-Bonello v. Progressive Select Ins.

  Co., No. 0: 17-cv-60897-UU, 2017 WL 7793885, at *2 (S.D. Fla. Dec. 28, 2017)

  (concluding that "it did not have original jurisdiction over [the plaintiffs]

  [c]omplaint, as [the plaintiffs] [c]omplaint was nothing more than a frivolous

  attempt to invoke CAF A jurisdiction to bring a dispute hinging on Florida state law

  into Federal court," and because a class was "unlikely to be certified" due to "the

  myriad of individualized issues concerning, among other things, whether each

  putative class member entered into an enforceable contract and whether Defendant's



                                            13
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 14 of 16 PageID 3033

                                                    Case No.: 8: 16-cv-3255-EAK-SPF

  breach caused each putative class member to suffer damages"); see also Ayers v.

  State Farm Mutual Automobile Ins. Co., et al., No. 6:17-cv-1265-RBD-TBS, 2017

  WL 6524001, at *2 (M.D. Fla. Dec. 21, 2017) (explaining that CAFA is "a narrowly-

  tailored expansion of federal diversity jurisdiction to ensure that class actions that

  are truly interstate in character can be heard in federal court").

        Under CAF A, federal district courts have original jurisdiction over civil class

  action lawsuits when three requirements are met:

        ( 1) The proposed class contains at least 100 members;

        (2)There is minimal diversity (i.e., at least one plaintiff class member is
           diverse from at least one defendant); and

        (3) The aggregate amount in controversy exceeds $5 million.

  See 28 U.S.C. §§ 1332(d)(2), (5)(b); see also Dudley v. Eli Lilly & Co., 778 F.3d

  909, 911 (11th Cir. 2014 ). Here, the entirety of Plaintiffs jurisdictional allegation

  in her complaint provides:

        This Court has subject matter jurisdiction under [CAFA], because the
        amount in controversy exceeds $5,000,000, exclusive of interest and
        costs, and this is a class action in which a member of the Class and
        Defendant are citizens of different states.

  (Doc. 1 at ,l3).    As an initial matter, Plaintiff cannot satisfy Rule 8(a)(l )'s

  requirement for a short and plain statement of jurisdiction by simply regurgitating

  the statutory elements.      Moreover, Plaintiffs complaint fails to include any




                                             14
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 15 of 16 PageID 3034

                                                    Case No.: 8: 16-cv-3255.:.EAK-SPF

  allegations that the proposed class contains at least 100 members. Plaintiffs mere

  threadbare recitals of only two of the three elements necessary for federal subject

  matter jurisdiction under CAFA are insufficient and constitute a frivolous attempt to

  invoke the Court's CAFA jurisdiction.

         Additionally, Plaintiffs claims lack the expectation that a class would be

  eventually certified .. Wright, 841 F.3d 1271-73; see also Arias-Bonello, 2017 WL

  7793885, at *2. To be sure, the Court previously denied Plaintiffs motion for class

  certification.    (Doc. 105).     Moreover, given, inter alia, the administrative

  infeasibility of Plaintiffs chosen method of identifying class _members and the

 · un1queness of each proposed class member's sales experience with AFI, it was,from

  the outset, unlikely that a class would be eventually certified in this case.

  III.   Conclusion

         Accordingly, it is ORDERED and ADJUDGED that this action is

  DISMISSED WITHOUT PREJUDICE for lack of subject matter jurisdiction.

  The Clerk is directed to close the case and terminate any pending motions.

         DONE and ORDERED in Chambers, in Tampa, Florida this                 .;z ~   of

  Npvember, 2018.
                                                        .   .


                                   ~ ELIZABETH A. KOVACHE
                   --===. . .=·,___-=====----UNt'fEE>-8-'F-A-TES-DISIIDGJ'--
                                                                          JUDG ·. .
                                                                             .. ·-- ---- --



                                             15
Case 8:16-cv-03255-EAK-SPF Document 114 Filed 11/07/18 Page 16 of 16 PageID 3035

                                             Case No.: 8: 16-cv-3255-EAK-SPF

  Copies Furnished To:

  Counsel/Parties of Record




                                      16
